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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1544V
                                          UNPUBLISHED


    RALPH BALCOM,                                               Chief Special Master Corcoran

                         Petitioner,                            Filed: July 1, 2021
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Guillain-Barre
                                                                Syndrome (GBS)
                         Respondent.


Jessica Olins, Maglio Christopher & Toale, PA, Washington, DC, for petitioner.

Jeremy Fugate, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION ON JOINT STIPULATION 1

        On November 6, 2020, Ralph Balcom filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré Syndrome (GBS)
resulting from an influenza (“flu”) vaccination, “hepatitis” vaccination, and “any other
temporally related vaccinations covered by 42 U.S.C. § 300aa-14. 3 Petition at 1-2;
Stipulation, filed at June 29, 2021, ¶ 1. Petitioner further alleges that he suffered the
residual effects of this injury for more than six months. Petition at 4; Stipulation at ¶ 4.
“Respondent denies that the flu vaccine or any other vaccines caused petitioner’s alleged
GBS, or any other injury; and denies that his current condition is a sequelae of a vaccine-
related injury.” Stipulation at ¶ 6.

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
3
 Petitioner received a flu vaccine on September 1, 2018; hepatitis A and Tdap vaccines on October 10,
2018; and hepatitis B vaccines on April 10, May 15, June 12, and October 12, 2018. Ex 1.
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       Nevertheless, on June 29, 2021, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $96,000.00 in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision. 4

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

*************************************
RALPH BALCOM,                        *
                                     *
                  Petitioner,        *                        No. 20-1544V
                                     *                        Chief Special Master Corcoran
V.                                   *
                                     *
SECRETARY OF HEALTH AND              *
HUMAN SERVICES,                      *
                                     *
                  Respondent.        *
*************************************
                                 STIPULATION

       The parties hereby stipulate to the following matters:

        I.     Petitioner filed a petition for vaccine compensation under the National Vaccine

Injury Compensation Program, 42 U.S.C. § 300aa- 10 to 34 (the "Vaccine Program"). The

petition seeks compensation for injuries allegedly related to petitioner's receipt of an influenza

("flu') vaccine and "hepatitis" vaccination and "any other temporally related vaccinations,"

which vaccines are contained in the Vaccine Injury Table (the "Table"), 42 C.F.R. § I00.3 (a).

       2.      Petitioner received a flu immunization on September I, 20 I8; Hepatitis A and

Tetanus-diphtheria-acellular pertussis vaccines on October I0, 2018; and Hepatitis B vaccines

on October 12, 2018, April JO, 2018, May 15, 2018, and June 12, 2018.

       3.      The vaccines were administered within the United States.

       4.      Petitioner alleges that he suffered Gui Ilain-Barre Syndrome ("GBS") that was

caused by the vaccines. He further alleges that he suffered the residual effects of this injury for

more than six months.

       5.      Petitioner represents that there has been no prior award or settlement of a civil

action for damages on his behalf as a result of his condition.
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       6.         Respondent denies that the flu vaccine or any other vaccines caused petitioner's

alleged G BS, or any other injury; and denies that his current condition is a sequelae of a vaccine-

related injury.

       7.         Maintaining their above-stated positions, the parties nevertheless now agree that

the issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

       8.         As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-2 l(a)(l), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

       A lump sum of $96,000.00 in the form of a check payable to petitioner. This amount
       represents compensation for all damages that would be available under 42 U.S.C.§
       300aa-15(a).

       9.         As soon as practicable after the entry ofjudgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21(a)(I), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys ' fees and costs incurred in proceeding

upon this petition.

        I0.       Petitioner and his attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primari ly liable

under 42 U.S.C. § 300aa- l 5(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.



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        11.     Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-l 5(i), subject

to the availability of sufficient statutory funds.

        12.     The parties and their attorneys further agree and stipulate that, except for any

award for attorneys' fees, and litigation costs, the money provided pursuant to this Stipulation

will be used solely for the benefit of petitioner as contemplated by a strict construction of 42

U.S.C. § 300aa- l 5(a) and (d), and subject to the conditions of 42 U.S.C. § 300aa-15(g) and (h).

        13.     In return for the payments described in paragraphs 8 and 9, petitioner, in his

individual capacity and on behalf of his heirs, executors, administrators, successors or assigns,

does forever irrevocably and uncond itionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the Court of Federal Claims, under the National Vaccine Injury Compensation

Program, 42 U.S.C. § 300aa- IO et seq., on account of, or in any way growing out of, any and all

known or unknown, suspected or unsuspected personal injuries to or death of petitioner resulting

from, or alleged to have resulted from, a flu immunization administered on September I , 2018;

Hepatitis A and Tetanus-diphtheria-acellular pertussis vaccines administered on October I 0,

2018; and Hepatitis B vaccines admin istered on October 12, 2018, April I0, 20 I8, May IS,

2018, and June 12, 2018, as alleged by petitioner in a petition for vaccine compensation filed on

or about November 6, 2020, in the United States Court of Federal Claims as petition No.

20-1544V.

        14.     If petitioner should die prior to entry of judgment, this agreement shall be

voidable upon proper notice to the Court on behalf of either or both of the parties.
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        15.     If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity

with a decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion of either party.

        16.    This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended,

except as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of

the parties hereto to make any payment or to do any act or thing other than is herein expressly

stated and clearly agreed to. The parties further agree and understand that the award described in

this Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17.    This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the vaccines caused petitioner's alleged OBS or

any other injury or any of his alleged current disabilities.

        18.    All rights and obligations of petitioner hereunder shall apply equally to

petitioner's heirs, executors, admin istrators, successors, and/or assigns.

                           END OF STIPULATION

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     Respectfully submitted,

     PETITIONER:




     ATTORNEY OF RECORD FOR                           AUTHORIZED REPRESENTATIVE
     PETITION ·

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                                                      OF THE ATTORNEY GENERAL:


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     Seattle, WA 9810 I                               Civil Division
     (8887) 952-5254                                  U.S. Department of Justice
                                                      P.O. Box 146
                                                      Benjamin Franklin Station
                                                      Washington, DC 20044•0146

     AUTHORIZED REPRESENTATIVE                        ATTORNEY OF RECORD FOR
     OF THE SECRETARY OF HEALTH                       RESPONDENT:
     AND HUMAN SERVICES:
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